                 Pharmacy Services Agreement
THIS AGREEMENT (this “Agreement”) is made by and between AlignRx, LLC
(“ALIGN”), a Delaware limited liability company, and, a pharmacy licensed and
authorized to provide pharmacy services in each state in which it conducts business
(hereinafter referred to as “Pharmacy”) at the locations listed on Exhibit A of this
Agreement. ALIGN and Pharmacy may be referred to individually in this Agreement as
a “Party” and collectively as “Parties”.

WHEREAS, ALIGN shall provide certain Pharmacy Services Administrative
Organization (“PSAO”) Services to Pharmacy or to contracted Payors on behalf of
Pharmacy. PSAO Services may be provided by ALIGN regardless of whether ALIGN
directly contracts with Payors or Pharmacy contracts with Payors; and


WHEREAS, both Parties agree to comply with the Health Insurance Portability and
Accountability Act of 1996 (“HIPAA”) as well as the Health Information Technology for
Economic and Clinical Health act (“HITECH”), including the Privacy, Security, Breach
Notification and Enforcement Rules in 45 C.F.R. parts 160 and 164 and their
accompanying regulations (“HIPAA Rules”); and

WHEREAS, ALIGN is a Business Associate as that term is defined by HIPAA the
parties shall execute a business associate agreement.


NOW, THEREFORE, in consideration of the premises and mutual covenants herein
contained and other good and valuable consideration, it is mutually agreed by and
between the Parties hereto as follows:


1.    DEFINITIONS
1.1   “Covered Persons” shall mean those employees or members and their
dependents who have elected to receive prescription drugs from Network Providers and
who are covered by a benefit plan insured, provided, or administered by a Payor.
1.2    “Covered Pharmacy Services” shall mean all pharmacy services, drugs, and
supplies, that Pharmacy is authorized to provide under applicable law, and that are
rendered to a Covered Person by Pharmacy for which Payor is obligated to pay or
reimburse pursuant to a benefit plan insured, provided, or administered by a Payor.
1.3    “Payor” shall mean any private or governmental entity or company including, but
not limited to, employers, union groups, associations, insurers, health maintenance
organizations, pharmacy benefit managers, pharmacy benefit administrators, or third
party administrators, that has contracted with Pharmacy and/or ALIGN for the provision
of Covered Pharmacy Services.



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1.4   “Payor Agreement” means an agreement between ALIGN and a Payor or
Pharmacy and a Payor whereby the Payor agrees to offer to Covered Persons one or
more Payor Plans and ALIGN or Pharmacy agrees to arrange for the provision of
Covered Pharmacy Services specified in such plans.
1.5    “Payor Plan” shall mean all programs established by Payor involving Network
       Providers.
1.6   “Provider Manual” shall mean a manual prepared and amended by Payor(s)
which contains Payor(s) policies and procedures, as amended from time to time in
accordance with Payor Agreement or other applicable contracts. Provider Manual(s)
may be provided in the form of a web-based internet site.


2.     ALIGN SERVICES
2.1    Pharmacy Services Administrative Organization (“PSAO Services”). ALIGN
shall provide certain services (the “PSAO Services”) to Pharmacy based upon
Pharmacy’s execution of one or more Addendums to this Agreement. The terms of this
Agreement, any regulatory amendment, and any executed Addendum shall apply.
PSAO Services are described in each Addendum.
2.2    Pharmacist-Patient Relationship. ALIGN agrees that it shall not interfere with
the right of Pharmacy to exercise professional judgment in the rendition of services, it
being understood and agreed that the traditional relationship between the pharmacist
and patient will be maintained.


3.     CONFIDENTIALITY AND NONDISCLOSURE OF DATA
3.1    Non-Disclosure of Data. Protected Health Information, as defined by HIPAA
Rules, and any other data obtained from Pharmacy by ALIGN are collectively referred
to as “Data” in this Agreement. ALIGN agrees to keep all Data confidential under the
terms of this Agreement and applicable law. ALIGN agrees to not use or disclose Data
other than as permitted or required by this Agreement or in the case of Data that is
Protected Health Information, it will be additionally maintained as required by law.
3.2   HIPAA Compliance. ALIGN and Pharmacy shall execute a business associate
agreement in the form of Addendum E of this Agreement.
3.3   ALIGN’s Use of Data. Upon execution of this Agreement and any addenda,
Pharmacy shall provide the necessary Data that ALIGN needs to perform PSAO
Services for which the parties have contracted.
3.4    Minimum Data Necessary. ALIGN agrees that it shall only access, use, and
disclose the minimum amount of Data as may be reasonably necessary to fulfill
ALIGN’s obligations under the terms of this Agreement and any executed Addendum.
ALIGN may use or disclose Data to perform functions, activities or services for, or on
behalf of, Pharmacy as specified in this Agreement and any executed Addendum.
ALIGN may use or disclose Data to the extent required by law or government agency.




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ALIGN may use Data for the proper management and administration of PSAO Services
to Pharmacy or to perform its contractual responsibilities to the Pharmacy.
3.5    Limitation of Data Use. Pharmacy shall notify ALIGN of any confidentiality
obligations, limitations or requirements pertaining to Data pursuant to any contracts,
agreements or participation requirements involving Pharmacy.
3.6    Third Party Nondisclosure Requirement. Pharmacy shall notify ALIGN of any
contractual requirement for ALIGN to enter into a nondisclosure agreement with any
third party with whom Pharmacy does business and will work with the third party and
ALIGN to obtain a nondisclosure agreement that is satisfactory to all parties.


4.     PHARMACY OBLIGATIONS
4.1    Appointment of ALIGN. Pharmacy hereby appoints ALIGN as its agent and
authorized representative pursuant to the rendering of PSAO Services selected by
Pharmacy pursuant to this Agreement and Addendum.
4.2    Changes in Pharmacy Information. Pharmacy shall notify ALIGN in writing, at
least thirty (30) calendar days prior to any change in Pharmacy’s name, business
address, business telephone number, office hours, ownership, corporate structure, type
of pharmacy business (ie., retail, specialty, compounding, mail order, long term care),
licensure, tax identification number, malpractice insurance carrier or coverage limits, or
services provided by Pharmacy.
4.3    Data Collection and Reporting. Pharmacy acknowledges certain PSAO
Services are based on actual claims and cost data. Pharmacy agrees to provide or
arrange to provide data to ALIGN. Pharmacy may use ALIGN’s claim processing
services or arrange data feeds from Pharmacy’s claim processor or software vendor.
Pharmacy agrees that any Data collected under this Agreement shall be available to
ALIGN for use in delivering PSAO Services under this Agreement and Addendum.
4.4     Nondisclosure. Pharmacy shall not disclose the terms of this Agreement or any
Addendum or any Payor Agreement, including but not limited to any fee schedule,
without the prior written consent of ALIGN. This paragraph shall survive the termination
of this Agreement and Addendum.
4.5   Subrogation. If required by law, Pharmacy shall make any determination of
subrogation rights or seek out other reimbursement benefits that may be payable other
than payments received under this Agreement and Addendum.
4.6   Pharmacy Services. Pharmacy shall not refuse to provide services to any
Covered Person on the basis of race, color, religion, sex, age, national origin, or Payor
Plan.
4.7   Recordkeeping. Pharmacy agrees to maintain such records as are necessary
to comply with the requirements of any rules and regulations of any appropriate
governmental agency for a period of at least ten (10) years following termination of this
Agreement. In accordance with requirements of the Omnibus Budget Reconciliation Act
of 1980, until the expiration of four (4) years after the furnishing of services pursuant to




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this Agreement, Pharmacy shall make available, upon request, to the Secretary of
Health and Human Services or the Comptroller General, or to any other of their duly
authorized representatives, this Agreement, books, documents and records of
Pharmacy that are necessary to certify the extent of any cost arising from this
Agreement.
4.8   Taxes. The burden of taxes or fees assessed by state or local governments on
transactions between ALIGN and Pharmacy shall be borne by Pharmacy.


5.      INDEPENDENT RELATIONSHIP
None of the provisions of this Agreement are intended to create nor shall be deemed
or construed to create any relationship between ALIGN and Pharmacy other than that
of independent entities contracting with each other hereunder solely for the purpose of
effecting the provisions of this Agreement. Neither of the Parties, nor any of their
respective officers, directors or employees, shall be construed to be the authorized
representative, employee or representative of the other except as specifically described
in Section 4.1. Neither Party is authorized to represent the other for any purpose
whatsoever without the prior consent of the other.


6.     INDEMNIFICATION AND LIMITATION ON DAMAGES

 6.1 Indemnification. Pharmacy shall defend, indemnify, protect and hold harmless
ALIGN and each of its affiliates, subsidiaries, officers, directors, employees,
representatives and agents (the “Indemnified Parties”) for, from and against any and all
claims, demands, actions, causes of action, suits, proceedings, hearings or
investigations, and losses, liabilities, injuries, damages, costs and expenses incurred by
any Indemnified Party to the extent caused by, arising out of, resulting from, attributable
to or in any way incidental to the occurrence of any one or more of the following: (i)
Pharmacy’s breach of this Agreement, (ii) any inaccuracy in any of Pharmacy’s
representations and warranties contained herein; and (iii) Pharmacy’s failure to fully
comply with all applicable Federal and State Laws or licensure requirements, and (iv)
Pharmacy’s negligence, willful misconduct, errors or omissions, or commission of fraud,
waste or abuse. This obligation shall survive expiration or termination of this Agreement.

 6.2 Limitation on Damages. Pharmacy acknowledges and agrees that in no event shall
ALIGN, any affiliate or subsidiary, or any of its officers, directors, employees,
subcontractors, representatives or agents be liable to Pharmacy for any special, indirect,
incidental, or consequential, punitive or exemplary damages, loss of profits, or loss of
goodwill, even if such damages occur. Pharmacy agrees that the sole and exclusive
remedy available to Pharmacy shall be limited to the recovery of actual damages not in
excess of the total member fees actually paid to ALIGN, reduced by any amounts paid,
credited or refunded to Pharmacy by ALIGN, plus any central pay reimbursement
allocable to Pharmacy that has been received by ALIGN but not disbursed to Pharmacy.
To the extent ALIGN makes arrangements with certain third-parties to offer goods or
services to Pharmacy, Pharmacy agrees and hereby does waive all claims for loss,



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damage, liability, injury, cost or expenses incurred or alleged to have been incurred by
Pharmacy or its affiliates or their respective employees, representatives and agents
against ALIGN and its affiliates and their respective employees, representatives and
agents as a result of having purchased or used such goods and services, including all
claims of failure of such goods and services. The Parties agree that this limitation of
liability shall survive and continue in full force and effect despite any failure of an exclusive
remedy. Such limitation of liability shall survive expiration or termination of this
Agreement.

 7. TERM AND TERMINATION
 7.1   Termination Date. This Agreement shall have an initial term which shall expire
 one (1) year from the signature date herein below indicated (the “Termination Date”).
 Unless terminated in accordance with Section 7.2 or 7.3, this Agreement shall
 automatically renew for successive terms of one (1) year each.
 7.2   Termination by Notice. Either Party may terminate this Agreement or any
 Addendum attached hereto, with or without cause, by giving the other Party thirty (30)
 days written notice.
 7.3     Termination by ALIGN. ALIGN may, at its sole option, terminate this Agreement
 or any Addendum attached hereto effective upon notice to Pharmacy upon any of the
 following conditions: (i) Pharmacy makes an assignment for the benefit of creditors, is
 the subject of a voluntary or involuntary petition for bankruptcy or is adjudged to be
 insolvent or bankrupt, or a receive or trustee is appointed for any reason; (ii) receipt by
 ALIGN of a notice from Pharmacy as required by Section 7.2; (iii) ALIGN becomes
 aware that Pharmacy has made a misrepresentation with respect to this Agreement or
 has failed to comply with any terms in this Agreement; (iv) the occurrence of one of the
 events about which Pharmacy should give notice pursuant to this Agreement and has
 failed to do so; (v) ALIGN reasonably believes Pharmacy has been or is engaged in
 fraudulent activity; (vi) ALIGN reasonably believes that Pharmacy is participating in a
 340b program; (vii) Pharmacy fails to pay service fees or any balances due through the
 central pay program; or (viii) ALIGN determines that Pharmacy does not meet ALIGN’s
 credentialing criteria, which may be amended by ALIGN from time to time. Failure to
 remove Pharmacy           or terminate this Agreement in such circumstances shall not be
 considered a waiver of such ALIGN’s right to do so in the future.
 7.4    Termination Continuation of Rights. Notwithstanding termination of this
 Agreement, ALIGN and Payor shall continue to have access to the records maintained
 by Pharmacy in accordance with this Agreement for a period of ten (10) years from the
 date of the last provision of the Covered Pharmacy Services to Covered Persons to
 which the records refer for purposes consistent with their rights, duties and obligations
 under this Agreement and Payor Agreement. After the effective date of termination, this
 Agreement shall be deemed to remain in effect for the resolution of all matters
 unresolved at that date. Termination of this Agreement shall not affect the rights,
 obligations and liabilities of the parties arising out of the transactions occurring prior to
 termination.
 7.5    Other Remedies. Nothing contained in this Agreement shall be construed to



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limit either Party’s lawful remedies in the event of a material breach of this Agreement.
7.6   Effect of Termination. Upon termination of this Agreement, any Addendum is
contemporaneously terminated. Except as provided in the paragraph below, upon
termination of this Agreement, for any reason, ALIGN shall, if feasible, return or destroy
any Data received from Pharmacy, or created or received by ALIGN on behalf of
Pharmacy. This provision shall apply to Data that is in the possession of Subcontractors
or agents of ALIGN. ALIGN shall retain no copies of the Data.
In the event that ALIGN determines that returning or destroying the Data is infeasible,
ALIGN shall subject the Data to the same safeguards as for an active engagement.
ALIGN shall extend the protections of this Agreement to such Data and limit further
uses and disclosures of such Data to those purposes that make the return or destruction
infeasible, for so long as ALIGN maintains such Data.


8.     MISCELLANEOUS
8.1    Modification of this Agreement. ALIGN may modify any provision of this
Agreement and any executed Addendum upon thirty (30) days prior written notice to
Pharmacy. Pharmacy shall be deemed to have accepted ALIGN’s modification if
Pharmacy fails to object to such modification in writing within the thirty (30) day notice
period. Pharmacy’s objection to the modification will have the same effect as a thirty
(30) day notice of termination of the Agreement pursuant to section 6.2.. Amendments
required by legislative, regulatory or other legal authority as determined by ALIGN, do
not require the consent of ALIGN or Pharmacy and will be effective immediately upon
Pharmacy’s receipt of notice of amendment.
8.2    Assignment. This Agreement and any executed Addendum, being intended to
secure the services of and be personal to Pharmacy, shall not be assigned, sublet,
delegated or transferred by Pharmacy without the prior written consent of ALIGN. Any
change in the control of Pharmacy resulting from a merger, consolidation, stock
transfer, or asset sale shall be deemed an assignment or transfer for purposes of this
Agreement and as such shall require the prior written consent of ALIGN. Further, in
no event shall any terminations, transfers or assignments relieve any current
owner of Pharmacy of any of the obligations of the Pharmacy under this
Agreement. ALIGN may assign this Agreement and any executed Addendum
(including the rights, duties and obligations of ALIGN and Pharmacy). This Agreement
and any executed Addendum shall inure to the benefit of and shall bind the successors
and permitted assignees of the parties hereto.

8.3 Notice. Any notice required to be given pursuant to the terms and provisions hereof
shall be sent by (a) hand delivery, (b) certified mail, return receipt requested, postage
prepaid, (c) facsimile, or (d) email to ALIGN or to Pharmacy at the respective addresses
indicated below. Notice shall be deemed to be effective when mailed, faxed or emailed.




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       If to Pharmacy:       ALBERS MEDICAL PHARMACY
                             ________________________________
                             7201 E. 147TH STREET
                             ________________________________
                             GRANDVIEW, MO 64030-
                             ________________________________

                            Attn: Douglas Call
                            Facsimile: (816) 318-9888
                            Email: doug@albersrx.com

       If to ALIGN:         AlignRx, LLC.
                            3000 E. Memorial Rd.
                            Edmond, OK 73013
                            Attn: Melanie Maxwell, President
                            Email: mmaxwell@alignrx.org

8.4    Governing Law and Venue. This Agreement and any executed Addendum
shall be governed in all respects by the laws of the State of Oklahoma to the extent not
preempted by HIPAA, the HIPAA Rules or other applicable Federal law. The venue of
any legal action arising from this Agreement shall be in Oklahoma County, Oklahoma,
and ALIGN and Pharmacy specifically waive any right of venue that either might
otherwise have.
8.5     Severance of Invalid Provisions. If any provision of this Agreement and any
executed Addendum is held to be illegal, invalid or unenforceable under present or
future laws effective during the term hereof, such provision shall be fully severable. This
Agreement and any executed Addendum shall be construed and enforced as if such
illegal, invalid or unenforceable provision had never comprised a part hereof, and the
remaining provision shall remain in full force and effect unaffected by such severance,
provided that the invalid provision is not material to the overall purpose and operation
of this Agreement.
8.6     No Representations or Warranties. Pharmacy acknowledges that neither
ALIGN nor any of its affiliates nor any of their respective employees, agents or
representatives has made any representations, warranties or promises as to the profit
to be realized by Pharmacy from this Agreement, nor does ALIGN make any such
representations, warranties or promises, and Pharmacy acknowledges that the profits
to be realized from Pharmacy’s business are dependent on many factors, most of which
are in the sole control of Pharmacy.
8.7    No Third Party Beneficiaries. Nothing in this Agreement, express or implied,
is intended to or shall confer upon any person, other than the Parties and their
respective successors and permitted assigns, any legal or equitable right, benefit or
remedy of any nature under or by reason of this Agreement.
8.8     Incorporation by Reference. All Exhibits and executed Addendums attached
hereto are hereby incorporated into this Agreement by this reference. In the event of
conflict between this Agreement and any Exhibit or Addendum, the terms of such
Exhibit or Addendum shall control.



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8.9    Data Requests. If ALIGN receives a court order, subpoena, governmental
request, audit request, or custom reports related to Pharmacy’s Data (“Data Request”),
ALIGN may comply with such Data Request and Pharmacy shall reimburse ALIGN for
and indemnify and hold ALIGN harmless from and against, any and all costs (including
reasonable attorney fees), fees, losses, damages, or other expenses incurred in
connection with responding to such Data Request.
8.10 Waiver. The waiver by either Party of any breach of any provision of this
Agreement and any executed Addendum shall not be construed as a waiver of any
subsequent breach of the same or any other provision. The failure to exercise any right
hereunder shall not operate as a waiver of such right. All rights and remedies provided
herein are cumulative.
8.11 Entire Agreement. This Agreement and any Addendum, executed by the
Parties contain all the terms and conditions agreed upon by the Parties regarding the
subject matter of this Agreement or an Addendum. Any prior agreements, promises,
negotiations or representations, either oral or written, relating to the subject matter of
this Agreement not expressly set forth in this Agreement are not of force or effect.


IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed by
their authorized representatives as of the executed dates written below.


PHARMACY                                    AlignRx, LLC.
GRANDVIEW PHARMACY SERVICES LLC
By:                                         By:

Name:                                       Name: Melanie Maxwell
          Douglas Call
Title:                                      Title: President
         Owner/Primary                              1/24/2022
Date:                                       Date:
         1/24/2022

            Effective Date of Agreement:    8/1/2021




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                                      Addendum A
                             ALIGN Provider Network Services


WHEREAS, ALIGN and Pharmacy entered into a Pharmacy Services Agreement (hereafter
referred to as “this Agreement”) pursuant to which ALIGN agreed to furnish certain PSAO
Services to Pharmacy;
WHEREAS, ALIGN desires to create networks of providers who shall agree to comply with
participation standards established by ALIGN or contracted Payors as may be amended from
time to time;
WHEREAS, Pharmacy is duly authorized to provide pharmacy services and desires to
participate in the provider network established by ALIGN; and
WHEREAS, Pharmacy desires to enter into an exclusive agreement with ALIGN to participate
in the provider network established by ALIGN to render Covered Pharmacy Services and to
participate in Central Payment Services as set forth in this Agreement;
NOW, THEREFORE, in consideration of the premises and mutual covenants herein contained
and other good and valuable consideration, it is mutually agreed by and between the Parties
hereto as follows:


1. DEFINITIONS IN ADDITION TO DEFINITIONS IN AGREEMENT
1.1 “835 Data” shall mean claims payment data provided by Payor(s) in the current industry
standard which details claim transactions including but not limited to prescription number, fill
date, pharmacy, and amount paid.
1.2 “Central Payment Services” shall mean aggregated payments received by ALIGN to be
appropriately distributed to all Network Providers. Payor(s) may or may not elect to participate
in the central payment program.
1.4 “Network Participation Standards” shall mean the applicable terms of this Addendum A and
the applicable terms of Payor Agreements and Provider Manuals.
1.5 “Network Provider(s)” shall mean a pharmacy that has executed this Addendum A.


2   ALIGN SERVICES
2.1 Central Payment Services. ALIGN shall provide Central Payment Services to Pharmacy
subject to the terms and conditions outlined in the ALIGN Pharmacy Services Agreement, this
Addendum A, and the Payor Agreements executed on behalf of Network Providers. For all
payments made pursuant to the Central Pay Services, ALIGN shall 1) on behalf of applicable
Pharmacies , receive funds from applicable Payor(s) and shall distribute funds to Network
Provider according to the corresponding 835 data received from Payor(s).. Payor(s) may elect
to pay Pharmacy directly or to pay ALIGN on behalf of Pharmacy for Covered Pharmacy Services
rendered. ALIGN shall use best efforts to pay Pharmacy funds paid by Payor to ALIGN timely.
In no event shall ALIGN be obligated to pay Pharmacy for any services rendered by Pharmacy




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if ALIGN has not received monies from Payor sufficient to pay for such services. In the event
that a Payor withholds payments due Network Provider, a Payor advises ALIGN of its intent to
withhold Network Provider payments, a Payor recoups payments previously made to Network
Provider through the Central Pay Services, or ALIGN determines, at its sole discretion, such
withholding or recoupment may occur, ALIGN may, at its sole discretion (a) withhold funds owed
to Pharmacy, (b) debit Pharmacy’s bank account for any amount due from Pharmacy or, (c)
invoice Pharmacy for any amount owed by Pharmacy, which sum will be due and payable within
5 business days following the date of ALIGN’s invoice. In the event of termination of this
Addendum or the Agreement, ALIGN reserves the right to deduct ALIGN service fees and other
charges or fees imposed under this Agreement and Addendum as applicable, that are due and
payable by Pharmacy from any Payor funds due Pharmacy.
2.2 Customer Service. Pharmacy may utilize ALIGN’s service representatives, or such other
person as may be designated by ALIGN for any communication with Payor(s) and to resolve any
Payor(s) issues.
2.3 Direct Payor Agreements with Pharmacy. In the event Pharmacy is working directly with
a Payor on a direct agreement, ALIGN shall, upon Pharmacy’s request, use Pharmacy’s data to
create a financial model projecting estimated profitability under such agreements. ALIGN shall
also provide contract consulting services to Pharmacy related to such agreements, including but
not limited to contract redline, profitability analysis, and negotiation strategy and tips.
2.4 Network Marketing. ALIGN, independently and in conjunction with or through others,
intends to market to Payors a provider network, consisting of certain Network Providers.
2.5 Other PSAO Services. ALIGN may provide upon Pharmacy’s request and with mutual
agreement between ALIGN and Pharmacy certain additional administrative services related to
Pharmacy’s operations.
2.6 Patient Education and Disease Management Programs. ALIGN may establish quality
programs focused on patient adherence and compliance or disease management. Certain
programs may be funded by drug manufacturers in compliance with HITECH requirements.
Participation in these programs shall be optional and Pharmacy shall be allowed to enroll or
disenroll at the Pharmacy’s discretion.
2.7 Exclusivity and Payor Contracting. Pharmacy agrees that ALIGN shall be the exclusive
authorized contracting representative for Pharmacy. As such, ALIGN shall have the authority to
negotiate and execute Payor Agreements on behalf of Pharmacy and the sole and exclusive
right to bind Pharmacy to Payor Agreements and Payor Plans. Pharmacy agrees that no other
representative is authorized to do so, provided that Pharmacy itself may directly enter into any
payor agreements with any payor that has not established a Payor Plan with ALIGN or any Payor
that has not executed a Payor Agreement directly with ALIGN.
2.8 Price Discrepancy Program (MAC Appeals Process). For Network Providers who supply
claims data to ALIGN, ALIGN shall identify generic claims that pay below average acquisition
cost and shall provide claims detail to Payors to appeal reimbursement.
2.9 Utilization Review and Quality Assurance. ALIGN shall perform, as appropriate, Network
Providers utilization review and quality assurance review, including monitoring of PBMs for
compliance with PBM’s contract obligations, developed, maintained, or administered by ALIGN,
whether on its behalf or on behalf of any Payor.



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3 NETWORK PROVIDER OBLIGATIONS
3.1 Appointment of ALIGN. Pharmacy hereby appoints ALIGN as its agent and authorized
representative: (i) to negotiate and execute any and all Payor Agreements and contracts in the
name of Pharmacy, in accordance with the terms of this Agreement; (ii) to collect and receive on
Pharmacy’s behalf, accounts receivable generated by billings and claims for reimbursement;
and (iii) to take custody of, endorse in the name of Pharmacy, and deposit into ALIGN’s account,
any notes, checks, money orders, insurance payments and any other instruments, received in
payment of such account receivables for Covered Pharmacy Services or other services provided
under or in connection with Payor Agreements.
3.2 Central Payment Services and Claims Adjustments. Pharmacy represents and warrants
that ALIGN has the requisite authority to act on Pharmacy’s behalf to receive all payments made
by Payor(s) for Covered Pharmacy Services performed by Pharmacy pursuant to this Agreement
and Payor(s) Agreement(s). Pharmacy agrees to participate in Central Payment Services and
shall provide sufficient bank account information and authority to ALIGN to process funds due
Pharmacy. In the event that Pharmacy creates a negative balance, Payor begins withholding or
there is an apparent risk of Payor withholding all or any portion of a Central Payment amount
due to Pharmacy through Central Payment Services, Pharmacy agrees to immediately make
funds available in the Pharmacy’s bank account designated for Central Payment Services and
allow ALIGN to recoup from Pharmacy by electronic funds transfer all monies due. ALIGN
reserves the right to hold future payments made through Central Payment Services due
Pharmacy in the event Pharmacy fails to immediately make funds available to cover any
recoupments from Payors and ALIGN shall have the right to use such held funds to offset against
any outstanding amounts owed by Pharmacy.
3.3 Cooperation with Utilization Review, Quality Assurance, and Payor Plan and Provider
Manuals. Pharmacy agrees to comply with the terms of the Payor Plans and Provider Manuals.
Pharmacy further agrees to comply with utilization review, quality assurance, peer review and
other requirements and procedures established by ALIGN or Payor, including without limitation
ALIGN’s or Payor’s compliance programs. Pharmacy understands and agrees that amounts
payable to Pharmacy for Covered Pharmacy Services may be forfeited or withheld to the extent
such services are not in accordance with ALIGN’s operating policies or procedures or the terms
of the Payor Agreements and Provider Manuals.
3.4 Credentialing. Pharmacy acknowledges that ALIGN, at its sole discretion, shall make a
determination whether to include Pharmacy in ALIGN’s Network Providers. Pharmacy agrees
to comply with ALIGN’s credentialing standards, which may be revised from time to time, and
agrees to fully cooperate with ALIGN’s credentialing program. Pharmacy shall provide all
information reasonably necessary for ALIGN to verify without limitation Pharmacy and pharmacy
personnel’s background, licensure status, debarment and disciplinary actions, and financial
history relating to Pharmacy’s operations. Pharmacy shall provide ALIGN any information on its
participation in any 340b plans at the time of execution of this Addendum or the time of
participation in 340b plans after the execution of this Addendum.
3.5 Licensing/OIG Exclusion. Pharmacy represents and warrants that neither Pharmacy nor
Pharmacy owner(s), pharmacists, pharmacy technicians, or any employees of Pharmacy




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furnishing Covered Pharmacy Services have been (i) listed as debarred, excluded, or otherwise
ineligible for participation in federal or state health care programs; (ii) convicted of a criminal
felony; (iii) been subject to any sanctions, discipline or reprimand by any State pharmacy
licensing board; or (iv) been subject to any sanctions, discipline or reprimand by any federal
agency governing pharmacies or pharmacists. At the time of hire and monthly thereafter,
Pharmacy shall verify that it and all owner(s), pharmacists, pharmacy technicians, and
employees(s) are not disbarred or excluded as required by CMS. In the event that Pharmacy
becomes aware of a debarment or exclusion of pharmacy, pharmacy owner(s), pharmacist,
pharmacy technicians, or any employee of Pharmacy, Pharmacy shall immediately notify ALIGN
in writing and shall prevent such personnel or Pharmacy from providing Covered Pharmacy
Services to Covered Persons.
3.6 Delegation of Duties. Pharmacy shall not delegate any duties under this Agreement to any
employee or authorized representative of Pharmacy whose credentials are not in compliance
with the terms, representations and warranties of this Agreement and no delegation or
assignment shall be permitted without ALIGN’s advance written approval.
3.7 Disciplinary Action. Pharmacy agrees to notify ALIGN within two (2) calendar days of the
occurrence of any disciplinary proceedings initiated against Pharmacy or against one of its
pharmacists or pharmacy technicians. Such notice shall include copies of any complaints,
petitions, lawsuits or other documents filed or prepared in connection with such proceedings.
3.8 No Guarantee of Utilization. Pharmacy acknowledges that ALIGN does not warrant or
guarantee that Pharmacy will be utilized by a Covered Person or any number of Covered
Persons within any Payor Plan.
3.9 Level of Participation. Pharmacy agrees to participate in Payor Plans entered into by
ALIGN, and to use best efforts to promptly deliver Covered Pharmacy Services to Covered
Persons during Pharmacy’s normal hours of operation. Pharmacy and Pharmacy’s staff and
administrative personnel shall treat Covered Persons promptly, fairly and courteously. ALIGN
and Pharmacy shall portray each other in a positive light to Covered Persons and the public.
Pharmacy shall, consistent with the peer review, utilization review and quality assurance
programs of ALIGN and the Payor and the Network Participation Standards, provide a level of
service that is consistent with ALIGN’s or Payor’s guidelines.
3.10 Release of Third Party Payors. Pharmacy agrees to release any Payor who has entered
into a Payor Agreement with ALIGN from any prior agreement between such Payor and
Pharmacy in order to permit ALIGN to enter into such an agreement. Pharmacy agrees to
execute any documents necessary to affect such a release and Pharmacy shall be bound to
Payor Agreement(s) executed by ALIGN.
3.11 Warranties. Pharmacy warrants that: (a) Pharmacy is duly licensed and authorized to
operate as a pharmacy in all states where it provides pharmacy services and shall remain so at
all times during the term of this Agreement; (b) all pharmacists employed by Pharmacy are fully
licensed as pharmacists in all states in which Pharmacy provides pharmacy services; and (c)
Pharmacy shall cause its pharmacists to maintain licenses in good professional standing at all
times during the term of this Agreement. Evidence of such licensing and/or authorization shall
be submitted by Pharmacy to ALIGN upon initial enrollment as a Network Provider and as
required by ALIGN for continued participation as a Network Provider. Pharmacy further warrants




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and represents that the information set forth in the membership application and any credentialing
or recredentialing documents submitted by Pharmacy to ALIGN is true and accurate and
Pharmacy shall amend the information set forth in that application if there is any material change.
3.12 Participation in 340b programs. Should Pharmacy advise ALIGN of its participation in
any 340b programs or should ALIGN learn of such participation, ALIGN reserves the right to limit
or remove Pharmacy’s participation as a Network Provider in order to respond to or comply with
market conditions or Payor requirements.
3.13 Professional Liability Insurance. Pharmacy, at Pharmacy’s sole cost and expense, shall
provide and maintain such policies of comprehensive general and professional liability insurance
to insure Pharmacy and Pharmacy employees against any claim or claims for damages arising
by reason of personal injuries, sickness, disease, or death, advertising injury, or from injury to or
destruction of tangible or intangible property, including loss of use arising therefrom, occasioned,
directly or indirectly, in connection with the performance of any service by Pharmacy or any
negligent act or omission. In no event shall such insurance coverage be less than $1,000,000
per occurrence and $3,000,000 in the aggregate. All policies described above shall be effective
no later than the effective date of this Agreement and shall remain effective for a period of one
(1) year beyond the termination or expiration of this Agreement. Pharmacy shall, upon execution
of this Agreement and at such times thereafter as ALIGN may request, furnish ALIGN evidence
of such insurance in the form of certificates from the insurer of such insurance. Pharmacy’s
insurer shall agree to notify, ALIGN in writing thirty (30) days prior to any modifications,
cancellations or terminations or replacements of any such insurance coverage for any reason
whatsoever. In no event shall the foregoing coverage limits affect or limit in any manner
Pharmacy’s liability in connection with the performance of its obligations under this Agreement.
3.14 Subrogation. If required by law, Pharmacy shall make any determination of subrogation
rights or seek out other reimbursement benefits that may be payable other than payments
received under this Agreement.


4 SERVICE FEES
4.1 Service Fees: Pharmacy authorizes ALIGN to EFT debit Pharmacy’s designated bank
account in the amount of $179.00 per month per pharmacy location. These fees cover PSAO
Services defined in this Addendum except for Central Payment Services.
4.2 Central Payment Service Fees: Central Payment processing fees no greater than $2.00
per day’s deposit will be deducted from payment distributed to Pharmacy.


5. MISCELLANEOUS.
5.1 Terms Used but not Defined Herein: Capitalized terms used but not described herein shall
have the meanings set forth in the Pharmacy Services Agreement.




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IN WITNESS WHEREOF, the Parties have caused this Addendum to be executed by their
authorized representatives as of the executed dates written below.


ALIGNRX, LLC                              PHARMACY ALBERS MEDICAL PHARMACY
BY: ________________________              BY: ____________________________
Name: Melanie Maxwell                           Douglas Call
                                          Name: _________________________
Title: President                                 Owner/Primary
                                          Title: __________________________
      12/28/2021
Date: _______________________                   12/28/2021
                                          Date: __________________________



                                                8/1/2021
                   Effective Date of Addendum: __________________
                                                769
                           Enrolled Chain Code: ___________




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                                              Addendum C
                                 eRecon Claim Reconciliation Service


WHEREAS, Pharmacy desires to use AlignRx’s eRecon Program for Claim Reconciliation Services; and
WHEREAS, Pharmacy acknowledges that use of the eRecon program requires Pharmacy to be enrolled in an
AlignRx Chain Code (see Addendum A of this Agreement). Failure to maintain enrollment in an AlignRx Chain
Code will cause this Addendum C to terminate effective the last day of Pharmacy’s enrollment in an AlignRx
Chain Code.
NOW, THEREFORE, in consideration of the premises and mutual covenants herein contained and other good and
valuable consideration, it is mutually agreed by and between the parties hereto as follows:
1.      DEFINITIONS IN ADDITION TO DEFINITIONS IN THE AGREEMENT
1.1   “835 Data” shall mean claim payment data in current industry standard format.


2.      PHARMACY OBLIGATIONS
2.1    Provision of Claims Data. Pharmacy agrees to use AlignRx’s preferred claim processing
service or provide claims Data to AlignRx through an authorized claim processing service or
authorized software vendor.
2.2     Continued Enrollment in an AlignRx Pharmacy Network. Pharmacy agrees to participate in one
of AlignRx’s Pharmacy Networks as a requirement to use the eRecon Claim Reconciliation Service
2.3      Provision of 835 Data. Pharmacy acknowledges that AlignRx shall use 835 Data received by
AlignRx from Payor(s) participating in AlignRx’s central payment program. In the event Payor does not
participate in AlignRx’s central payment program, Pharmacy shall complete required paperwork to direct
Payor to provide 835 data to AlignRx to use in reconciling claims.
2.4   Manual Reconciliation of Claims. In the event Payor does not provide 835 data to AlignRx,
Pharmacy shall be responsible for manually reconciling claims in the online eRecon system.


3.      ALIGNRX OBLIGATIONS.
3.1     Electronic Reconciliation of Claims. AlignRx shall use reasonable efforts to post 835 Files
received from Payors to the eRecon system within five (5) business days of receipt.
3.2     Unpaid Claims Chasing. AlignRx shall monitor Payor’s payment data to ensure timely payment of
claims based on Payor’s average paycycle. For claims associated with Payors that provide 835 files to
AlignRx, AlignRx shall contact Payor to obtain payment for claims that have not been paid within the Payor’s
average paycycle or after 90 days from date of service whichever is greater. For claims associated with
Payors that do not provide 835 files to AlignRx, AlignRx shall work with Pharmacy to identify missing
payments.

4.  Service Fees. Pharmacy authorizes AlignRx to EFT debit Pharmacy’s designated bank account in the
amount of $159.00 per month per pharmacy location.
IN WITNESS WHEREOF, the parties have caused this Addendum to be executed by their authorized
representatives as of the executed dates written below.
ALBERS MEDICAL PHARMACY                                 AlignRx, LLC
By:                                                     By:
Name: Douglas Call                                      Name: Melanie Maxwell
Title: Owner/Primary                                    Title:   President

Date: 12/28/2021                                        Date:    12/28/2021

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                                 Effective Date of Addendum:
                                  Addendum E
                          Business Associate Agreement

This Business Associate Agreement (“Agreement”) is entered into effective
8/1/2021
______________    (the “Effective Date”) by and between AlignRx, LLC (the “Business
Associate”) and ______________________
                GRANDVIEW PHARMACY SERVICES LLC (the “Covered Entity”).



                                     RECITALS

WHEREAS, the Covered Entity and Business Associate have entered into one or more
agreements providing, among other things, that Business Associate will perform certain
services on behalf of the Covered Entity (collectively, the Pharmacy “Pharmacy
Services Agreement”); and

WHEREAS, the parties desire to enter into this Agreement in order to comply with the
Administrative Simplification provisions of the regulations adopted under Health
Insurance Portability and Accountability Act of 1996 (“HIPAA”), as set forth in 45 CFR
Parts 160, 162 and 164 and as amended by the HITECH Act portion of the American
Recovery and Reinvestment Act of 2009 (the “HIPAA Rules”).

NOW, THEREFORE, in consideration of the premises and mutual covenants herein
contained and other good and valuable consideration, it is mutually agreed by and
between the Parties hereto as follows:


1.     Definitions

Words and phrases used in this Agreement, including but not limited to capitalized
words and phrases, which are not otherwise defined herein shall have the meanings
assigned thereto in the HIPAA Rules.

2.     Obligations and Activities of Business Associate

       a.    Business Associate agrees not to use or disclose Protected Health
             Information other than as permitted or required by this Agreement or as
             required by law. To the extent that Business Associate is to carry out one
             or more of Covered Entity’s obligations under Subpart E of 45 CFR Part
             164, Business Associate agrees to comply with all HIPAA Rules
             requirements that would apply to Covered Entity in the performance of
             those obligations.

       b.    Business Associate agrees to use appropriate safeguards and comply
             with Subpart C of 45 CFR Part 164 with respect to electronic Protected
             Health Information, to prevent use or disclosure of protected health
             information other than as provided for by this Agreement.



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  c.   Business Associate agrees to report to Covered Entity any use or
       disclosure of Protected Health Information not provided for by this
       Agreement, including any Breaches of unsecured Protected Health
       Information or any Security Incidents of which it becomes aware, and
       Business Associate further agrees that it shall make any such report
       within ten (10) days of Business Associate’s discovery of the use,
       disclosure, Breach, or Security Incident, and will at that time provide
       written notification of the occurrence to Covered Entity. Such notification
       shall include, at a minimum:

       i.     the identification of each individual whose Protected Health
              Information is involved is reasonably believed by Business
              Associate to have been, accessed, acquired, used, or
              disclosed due to the unauthorized use, disclosure, Breach, or
              Security Incident;

       ii.    a brief description of the nature and circumstances of the
              occurrence;

       iii.   a description of the types of Protected Health Information
              involved;

       iv.    a brief description of the steps that Business Associate has
              taken and/or will take to investigate the occurrence, mitigate
              potential losses, and prevent the recurrence of such events
              in the future.

       As used herein, “Unsuccessful Security Incident” means, without
       limitation, a ping and other broadcast attack on Business Associate’s (or
       its subcontractor’s) firewall, port scan, unsuccessful log-on attempt,
       denial of service attack, and any combination of the above, so long as no
       such incident results in unauthorized access, use or disclosure of
       Protected Health Information. The parties acknowledge and agree that
       this Section constitutes notice by Business Associate to Covered Entity
       of the ongoing existence and occurrence or attempts of Unsuccessful
       Security Incidents for which no additional notice to Covered Entity will be
       required.

  d.   In accordance with 45 CFR 502(e)(1)(ii) and 164.308(b)(2), if applicable,
       Business Associate will ensure that any Subcontractor of Business
       Associate that creates, receives, maintains or transmits Protected Health
       Information on behalf of Business Associate agrees to the same
       restrictions, conditions and requirements that apply through this
       Agreement or otherwise to Business Associate with respect to such
       information.



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       e.   Business Associate agrees to provide access, at the request of Covered
            Entity, and in the time and manner reasonably requested by Covered
            Entity, to Protected Health Information maintained by Business Associate
            in a Designated Record Set, to Covered Entity in order for Covered Entity
            to meet the requirements under 45 CFR § 164.524.

       f.   Business Associate agrees to make any amendment(s) to Protected
            Health Information contained in a Designated Record Set maintained by
            Business Associate, as directed or agreed to by Covered Entity in
            fulfillment of its obligations under 45 C.F.R. §164.526.

       g.   Business Associate agrees to document such disclosures of Protected
            Health Information and information related to such disclosures as would
            be required for Covered Entity to respond to a request by an individual for
            an accounting of disclosures of Protected Health Information in
            accordance with 45 CFR § 164.528.

       h.   Business Associate agrees to provide to Covered Entity in a time and
            manner as may be reasonably requested by Covered Entity, information
            collected in accordance with Section 2(g) above, to permit Covered Entity
            to respond to a request by an individual for an accounting of disclosures
            of Protected Health Information in accordance with 45 CFR § 164.528.

       i.   Business Associate agrees to make its internal practices, books, and
            records available to the Secretary for purposes of determining compliance
            with the HIPAA Rules.

3.     Permitted Use and Disclosure by Business Associate

       a.   Except as otherwise limited in this Agreement, Business Associate may
            use or disclose Protected Health Information to perform functions,
            activities or services for, or on behalf of, Covered Entity as specified in
            the Pharmacy Services Agreement, provided that such use or disclosure
            would not violate the HIPAA Rules if done by the Covered Entity

       b.   Except as otherwise limited in this Agreement, Business Associate may
            use or disclose Protected Health Information to the extent required by law.

       c.   Except as otherwise limited in this Agreement, Business Associate may
            use Protected Health Information for the proper management and
            administration of the Business Associate or to carry out the legal
            responsibilities of the Business Associate.

       d.   Except as otherwise limited in this Agreement, Business Associate may
            disclose Protected Health Information for the proper management and



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             administration of the Business Associate, provided that disclosures are
             required by law, or Business Associate obtains reasonable assurances
             from the person to whom the information is disclosed that it will remain
             confidential and used or further disclosed only as required by law or for
             the purpose for which it was disclosed to the person, and the person
             notifies the Business Associate of any instances of which it is aware in
             which the confidentiality of the information has been breached.

       e.    To the extent the Pharmacy Services Agreement requires Business
             Associate to provide Covered Entity with data aggregation services
             relating to Covered Entity’s health care operations, Business Associate
             may use Protected Health Information to provide such services.

       f.    Business Associate may use Protected Health Information to report
             violations of law to appropriate Federal and State authorities, consistent
             with 45 CFR 164.502(j)(1).

4.     Obligations of Covered Entity
       a.    Covered Entity shall notify Business Associate of any limitation(s) in its
             notice of privacy practices of Covered Entity in accordance with 45 CFR §
             164.520, to the extent that such limitation may affect Business Associate's
             use or disclosure of Protected Health Information.

       b.    Covered Entity shall notify Business Associate of any changes in, or
             revocation of, permission by individual to use or disclose Protected Health
             Information, to the extent that such changes may affect Business
             Associate's use or disclosure of Protected Health Information.

       c.    Covered Entity shall notify Business Associate of any restriction to the
             use or disclosure of Protected Health Information that Covered Entity has
             agreed to in accordance with 45 CFR § 164.522, to the extent that such
             restriction may affect Business Associate's use or disclosure of protected
             health information.

5.     Protection of Information Exchanged in Electronic Transactions

To the extent that Business Associate performs any standard transactions for or on
behalf of Covered Entity, Business Associate shall comply with each applicable
requirement of 45 C.F.R. Part 162, and further shall require any Subcontractor of
Business Associate to comply with the same.

6.     Permissible Requests by Covered Entity

Covered Entity shall not request Business Associate to use or disclose Protected
Health Information in any manner that would not be permissible under the HIPAA
Rules if done by Covered Entity.



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7.     Term

The term of this Agreement shall be effective as of the Effective Date and shall
terminate when all of the Protected Health Information provided by Covered Entity to
Business Associate or created or received by Business Associate on behalf of
Covered Entity, is destroyed or returned to Covered Entity, or, if it is infeasible to
return or destroy Protected Health Information, protections are extended to such
information, in accordance with the provisions of Section 9 below.

8.     Termination for Cause

Upon Covered Entity's knowledge of a material breach of this Agreement by Business
Associate, Covered Entity shall:

       a.     Provide an opportunity for Business Associate to cure the breach or
              end the violation and terminate this Agreement and the Pharmacy
              Services Agreement if Business Associate does not cure the breach or
              end the violation within the time specified by Covered Entity; or

       b.     Immediately terminate this Agreement and the Pharmacy Services
              Agreement if Business Associate has breached a material term of this
              Agreement and cure is not made.

9.     Effect of Termination

       a.     Except as provided in subsection (b) below, upon termination of this
              Agreement, for any reason, Business Associate shall return or destroy
              any Protected Health Information received from Covered Entity or created
              or received by Business Associate on behalf of Covered Entity. This
              provision shall apply to Protected Health Information that is in the
              possession of Subcontractors or agents of Business Associate. Business
              Associate shall retain no copies of the Protected Health Information.

       b.     In the event that Business Associate determines that returning or
              destroying the Protected Health Information is infeasible, Business
              Associate shall subject the Protected Health Information to the same
              safeguards as for an active engagement. Business Associate shall extend
              the protections of this Agreement to such Protected Health Information
              and limit further uses and disclosures of such Protected Health
              Information to those purposes that make the return or destruction
              infeasible, for so long as Business Associate maintains such Protected
              Health Information.




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10.     Regulatory References

A reference in this Agreement to a section in any statute or in the HIPAA Rules means
the section as in effect or as amended.
11.    Automatic Amendment

This Agreement shall be deemed amended to conform to any change in the HIPAA
Rules as of the effective date of the change.

12.     Survival

Business Associate's obligation to protect the privacy of the Protected Health
Information created or received for or from the Covered Entity will be continuous
and survive termination, cancellation, expiration or other conclusion of the
Agreement.

13.     Interpretation and Conflicts

Any ambiguity in this Agreement or the Pharmacy Services Agreement shall be
resolved in favor of a meaning that permits the Covered Entity and the Business
Associate to comply with HIPAA and the HIPAA Rules. In the event of conflicting terms
or conditions with prior agreements between the Parties, this Agreement shall
supersede any such previous agreement.

14.     Ownership of Protected Health Information

Protected Health Information provided by the Covered Entity to the Business
Associate and any Subcontractors or created or received by them on behalf of the
Covered Entity under this Agreement, is the property of the Covered Entity.

15.     No Third Party Beneficiary

Nothing express or implied in this Agreement or the Pharmacy Services
Agreement is intended to confer, nor shall anything herein confer, upon any
person other than the parties and the respective successors or assignees of the
parties, any rights, remedies, obligations, or liabilities whatsoever.

16.     Governing Law; Jurisdiction.
This Agreement shall be governed and construed in accordance with the Laws of the
State of Oklahoma without giving effect to any choice or conflict of Law provision or rule
(whether of the State of Oklahoma or of any other jurisdiction) that would cause the
application of the Laws of any jurisdiction other than the State of Oklahoma. Each Party
consents to the jurisdiction and venue of the United States District Court for the Western
District of Oklahoma or the District Court of the State of Oklahoma located in Oklahoma
City, Oklahoma.




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17.     Notice

All notices, requests, consents and other communications hereunder will be
addressed to the receiving party's address set forth below or to such other address
as a party may designate by notice hereunder.

If to the Business Associate:

AlignRx, LLC
3000 E Memorial Rd
Edmond, Ok 73013
Attn: Melanie Maxwell, President
Email: mmaxwell@alignrx.org

If to the Covered Entity:

ALBERS MEDICAL PHARMACY
_____________________________
7201 E. 147TH STREET
_____________________________
GRANDVIEW, MO 64030-
_____________________________
      Douglas Call
Attn: ________________________
        doug@albersrx.com
Email: _______________________


IN WITNESS WHEREOF, each of the undersigned has caused this Agreement be duly
executed in its name and on its behalf as of the Effective Date.

BUSINESS ASSOCIATE                              COVERED ENTITY

AlignRx, LLC                                    GRANDVIEW PHARMACY SERVICES LLC
                                                ______________________________
By:                                             By: _______________________
Name: Melanie Maxwell                                 Douglas Call
                                                Name: __________________________
Title: President                                      Owner/Primary
                                               Title: ____________________________




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                                CORPORATE GUARANTY

THIS CORPORATE GUARANTY (this “Guaranty”) between AlignRx, LLC,
a Delaware limited liability company (“ALIGN”) with its principal place of business at 3000
E. Memorial Road, Edmond, OK 73013, and __________________________
                                                          GRANDVIEW PHARMACY SERVICES LLC
                                                              8/1/2021
(hereinafter “Guarantor”), shall become effective as of _______________________
(“Effective Date”).
                                       RECITALS:
A.     WHEREAS, ALIGN and Guarantor entered into a Pharmacy Services Agreement
inclusive of any mutually executed addenda in connection therewith and entered into as
of the date hereof (collectively the “Pharmacy Services Agreement”);
B.   WHEREAS, to ensure that Guarantor on behalf of itself and each Individual
Pharmacy listed on Exhibit A of the Pharmacy Services Agreement (each an “Individual
Pharmacy”) satisfies its obligations to ALIGN under the Pharmacy Services Agreement
Guarantor has agreed to enter into this Guaranty; and
NOW, THEREFORE, in consideration of the foregoing Recitals, and for other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
the parties hereto, intending to be legally bound hereby, agree as follows:
1.     Guaranty. Guarantor irrevocably, unconditionally and absolutely guarantees to
ALIGN and its permitted successors and assigns, the full and prompt payment of all
amounts due to ALIGN by the Guarantor under the Pharmacy Services Agreement. The
obligations guaranteed are collectively referred to herein as the “Guaranteed
Obligations.” All payments to be made by Guarantor hereunder shall be made within ten
(10) business days after demand by ALIGN without setoff, counterclaim or deduction, in
immediately available funds.
2.      Unconditional Obligations.
        (a)    This Guaranty is a guaranty of payment and performance and not of
collection and is an absolute, unconditional and irrevocable guarantee of the full and
prompt payment and performance when due of the Guaranteed Obligations, whether or
not from time to time reduced or extinguished or hereafter increased or incurred, whether
or not recovery may be, or hereafter may become, barred by any statute of limitations or
otherwise, and whether or not enforceable against the Guarantor or any other Person
(Person meaning: any individual, corporation, limited liability company, partnership, joint
venture, association, joint-stock company, trust, unincorporated organization or
government or any agency or political subdivision thereof), and despite any arrangement
or composition entered into in connection with any such bankruptcy or other proceeding.
Without limiting the generality of the foregoing, Guarantor acknowledges and agrees that
this Guaranty shall be and will remain in full force and effect notwithstanding any
bankruptcy, insolvency, termination or dissolution of the Guarantor. If any payment made
by the Guarantor or any other Person or entity and applied to the Guaranteed Obligations
is at any time annulled, set aside, rescinded, invalidated, declared to be fraudulent or
preferential or otherwise required to be repaid or refunded, then, to the extent of such
payment or repayment, the liability of Guarantor shall be and will remain in full force and



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effect as fully as if such payment had never been made. Guarantor covenants that its
Guaranty will not be fulfilled or discharged, except by the complete payment of the
Guaranteed Obligations, whether by the primary obligor or Guarantor under this
Guaranty. Without limiting the generality of the foregoing, Guarantor’s obligations
hereunder shall not be released, discharged or otherwise affected by (i) any change in
the structure or ownership of the Guarantor, including, without limitation, any transfer by
Guarantor of all or any portion of its interest in the Guarantor without the express written
consent of the ALIGN, any change in the Pharmacy Services Agreement or any
obligations thereunder, or any insolvency, bankruptcy or similar proceeding affecting the
Guarantor or their respective assets, (ii) the existence of any claim or set-off which the
Guarantor has or may have against ALIGN, whether in connection with this Guaranty or
any unrelated transaction; provided, however, that nothing in this Guaranty shall be
deemed a waiver by Guarantor of any claim or prevent the assertion of any claim by
separate suit and (iii) any change in the time, manner or terms of payment of the
Guaranteed Obligations. This Guaranty shall in all respects be a continuing, absolute and
unconditional Guaranty irrespective of the genuineness, validity, regularity or
enforceability of the Guaranteed Obligations or any part thereof or any instrument or
agreement evidencing any of the Guaranteed Obligations or relating thereto, or the
existence, validity, enforceability, perfection or extent of any collateral therefor or any
other circumstance relating to the Guaranteed Obligations which might otherwise
constitute a defense to the Guaranteed Obligations or this Guaranty. ALIGN is not
obligated to file any claim relating to the Guaranteed Obligations in the event that the
Guarantor or any other Person or entity associated with Guarantor becomes subject to a
bankruptcy, reorganization or similar proceeding and the failure of ALIGN so to file shall
not affect Guarantor’s obligations under this Guaranty.

      (b)    Guarantor’s performance of some, but not all, of the Guaranteed
Obligations shall in no way limit, affect, modify or abridge Guarantor’s liability for those
Guaranteed Obligations which have not been performed.
       (c)     ALIGN, upon such terms as it deems appropriate, without notice or demand
and without affecting the validity or enforceability of this Guaranty or giving rise to any
reduction, limitation, impairment, discharge or termination of Guarantor’s liability
hereunder, from time to time may: (i) with respect to the Company’s financial obligations,
renew, extend, accelerate, increase the rate of interest on or otherwise change the time,
place, manner or terms of payment of financial obligations that are Guaranteed
Obligations, and/or subordinate the payment of the same to the payment of any other
obligations; (ii) settle, compromise, release or discharge, or accept or refuse any offer of
performance with respect to, or substitutions for, the Guaranteed Obligations or any
agreement relating thereto; (iii) request and accept other guarantees of the Guaranteed
Obligations and take and hold security for the payment of this Guaranty or the Guaranteed
Obligations; (iv) release, surrender, exchange, substitute, compromise, settle, rescind,
waive, alter, subordinate or modify, with or without consideration, any security for
performance of the Guaranteed Obligations, any other guarantees of the Guaranteed
Obligations, or any other obligation of any Person with respect to the Guaranteed
Obligations; (v) enforce and apply any security hereafter held by or for the benefit of
ALIGN in respect of this Guaranty or the Guaranteed Obligations and direct the order or



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manner of sale thereof, or exercise any other right or remedy that ALIGN may have
against any such security, as ALIGN in its discretion may determine; and (vi) exercise
any other rights available to it under the Pharmacy Services Agreement.
        (d)    This Guaranty and the obligations of Guarantor hereunder shall be valid and
enforceable and shall not be subject to any reduction, limitation, impairment, discharge
or termination for any reason (other than indefeasible performance in full of the
Guaranteed Obligations), including without limitation the occurrence of any of the
following, whether or not Guarantor shall have had notice or knowledge of any of them:
(i) any failure or omission to assert or enforce, or agreement or election not to assert or
enforce, or the stay or enjoining, by order of court, by operation of law or otherwise, of the
exercise or enforcement of, any claim or demand or any right, power or remedy (whether
arising under the Pharmacy Services Agreement, at law, in equity or otherwise) with
respect to the Guaranteed Obligations or any agreement or instrument relating thereto;
(ii) any rescission, waiver, amendment or modification of, or any consent to departure
from, any term or provision (including without limitation provisions relating to events of
default) of the Pharmacy Services Agreement or any agreement or instrument executed
pursuant thereto; (iii) the consent by ALIGN to the change, reorganization or termination
of the corporate structure or existence of the Guarantor; (iv) any defense, set-off or
counterclaim which the Guarantor may allege or assert against ALIGN in respect of any
Guaranteed Obligation, including but not limited to failure of consideration, breach of
warranty, statute of frauds, statute of limitations, accord and satisfaction and usury; and
(v) any other act or thing or omission, or delay to do any other act or thing, which may or
might in any manner or to any extent vary the risk of Guarantor as an obligor in respect
of the Guaranteed Obligations.
       (e)     Any indebtedness or obligations of the Guarantor to its affiliated companies
and its Individual Pharmacies, whether now or hereafter existing, shall be subordinated
to the prior payment and performance in full of the Guaranteed Obligations.
3.      Waivers. To the fullest extent permitted by law, Guarantor hereby waives and
agrees not to assert or take advantage of: (i) any right to require ALIGN to proceed against
the Guarantor or any other Person or entity associated with Guarantor or to proceed
against or exhaust any security held by ALIGN at any time or to pursue any right or
remedy under the Pharmacy Services Agreement or any other remedy in ALIGN’s power
before proceeding against Guarantor; (ii) any defense that may arise by reason of the
lack of authority or revocation hereof by Guarantor or any other Person or entity
associated with Guarantor, or the failure of ALIGN to file or enforce a claim against the
estate (either in administration, bankruptcy or any other proceeding) of any such Person;
(iii) any defense that may arise by reason of any presentment, demand for payment or
performance or otherwise, protest or notice of any other kind or lack thereof; (iv) any
defense based upon an election of remedies by ALIGN which destroys or otherwise
impairs the subrogation rights of Guarantor or the right of Guarantor to proceed against
the Guarantor for reimbursement, indemnity, or contribution, or with respect to any other
right or remedy of Guarantor; (v) all notices to Guarantor, to the Company, or to any other
Person, including, but not limited to, notices of the acceptance of this Guaranty or the
creation, renewal, extension, modification, accrual of any of the Company’s obligations
under the Pharmacy Services Agreement, or of default in the payment or performance of



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any such obligation, enforcement of any right or remedy with respect thereto or notice of
any other matter relating thereto; (f) any statute of limitations affecting Guarantor’s liability
hereunder or the enforcement thereof; (vi) any requirements of diligence or promptness
on the part of ALIGN; (vii) all rights, remedies, defenses, and claims and/or rights of
counterclaim, recoupments, offset or setoff under applicable law including, but not limited
to, all offsets, setoffs, rights, remedies or defenses which may be afforded to Guarantor
by any of Title 12, Okla. Stat. (2021) § 686 and/or Title 46, Okla. Stat. (2021) § 43 and/or
Title 15, Okla. Stat. (2021) §§ 334, 337, 338 and 344, as any such statutes may be
amended from time to time; (viii) any rights or claims that the Guarantor may acquire
against the Guarantor that arise from the performance of the Guarantor’s obligations
hereunder (including subrogation, reimbursement, exoneration, contribution or
indemnification); and (ix) any other circumstance which might otherwise constitute a
defense available to, or a discharge of the Guarantor , the Guarantor or any other
guarantor with respect to the Guaranteed Obligations.

4.     Cumulative Rights. All rights, powers and remedies of ALIGN hereunder shall be
in addition to and not in lieu of all other rights, powers and remedies given to ALIGN,
whether at law, in equity or otherwise.

5.     Independent Obligations.

        (a)     ALIGN’s rights hereunder shall not be exhausted by the exercise of any of
its rights or remedies or by any such action or by any number of successive actions until
and unless all Guaranteed Obligations have been fully paid and performed.

       (b)    Guarantor agrees that ALIGN may enforce this Guaranty, at any time and
from time to time, without the necessity of resorting to or exhausting any security or
collateral and without the necessity of proceeding against the Guarantor or any other
Person. Guarantor hereby waives the right to require ALIGN to proceed against the
Guarantor or any other Person, to exercise any right or remedy under the Pharmacy
Services Agreement or to pursue any other remedy or to enforce any other right.

       (c)    Guarantor shall continue to be subject to this Guaranty notwithstanding: (i)
any modification, waiver, agreement or stipulation between the Guarantor and ALIGN or
its successors and assigns, with respect to the Pharmacy Services Agreement; (ii) any
waiver of or failure to enforce any of the terms, covenants or conditions contained in the
Pharmacy Services Agreement or any modification thereof; or (iii) any release of the
Guarantor or any other Person from any liability with respect to the Pharmacy Services
Agreement.

       (d)    The Guaranteed Obligations are not conditioned or contingent upon the
genuineness, validity, regularity or enforceability of the Pharmacy Services Agreement or
the pursuit by ALIGN of any remedies which ALIGN either now has or may hereafter have
with respect thereto under the Pharmacy Services Agreement.




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6.     Expenses of Enforcement. If any litigation between the parties hereto arises out
of this Guaranty or is commenced to enforce or interpret this Guaranty, to recover
damages for breach of this Guaranty, to obtain declaratory relief in connection with this
Guaranty, or to otherwise obtain judicial relief in connection with the transactions which
are the subject of this Guaranty, the non-prevailing party shall pay the prevailing party’s
costs and expenses, including without limitation, reasonable attorney’s fees and
expenses, arising in connection with any such litigation.


7.     Representations and Warranties. Guarantor represents and warrants that:
       (a)   it is a corporation duly organized, validly existing, and in good standing
                               MO
under the laws of the State of ___________;
      (b)     it has all requisite corporate power and authority to execute, deliver and
perform this Guaranty;
       (c)   its execution, delivery, and performance of this Guaranty have been duly
authorized by all necessary corporate action on its part;
       (d)   it has executed and delivered this Guaranty and this Guaranty is the legal,
valid and binding obligation of Guarantor, enforceable against it in accordance with its
terms subject to the effect of applicable bankruptcy, insolvency, reorganization,
moratorium, fraudulent conveyance or similar laws relating to or affecting creditors’ rights
generally, and to the effect of general principles of equity (regardless of whether
considered in a proceeding in equity or at law);
        (e)    neither the execution nor delivery of this Guaranty nor compliance with or
fulfillment of the terms, conditions and provisions hereof, conflicts with, results in a
material breach or violation of the terms, conditions or provisions of, or constitutes a
material default, an event of default or an event creating rights of acceleration, termination
or cancellation or a loss of rights under (i) the certificate of incorporation or bylaws of
Guarantor, (ii) any judgment, decree, order, contract, agreement, indenture, instrument,
note, mortgage, lease, governmental permit or other authorization, right, restriction or
obligation to which Guarantor is a party or any of its property is subject or by which
Guarantor is bound or (iii) any federal, state or local law, statute, ordinance, rule or
regulation applicable to Guarantor;
      (f)    it now has and will continue to have full and complete access to the
Company’s financial status and the Company’s ability to perform the Guaranteed
Obligations;
       (g)     it has reviewed and approved copies of the Pharmacy Services Agreement
and is fully informed of the remedies ALIGN may pursue, with or without notice to the
Guarantor or any other Person, in the event of default of any of the Guaranteed
Obligations;
        (h)   it has made, and so long as any Guaranteed Obligation remains unsatisfied
it shall make, its own credit analysis of the Guarantor and shall keep itself fully informed
as to all aspects of the financial condition of the Guarantor and the performance of the
Guaranteed Obligations;



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       (i)    no consent, authorization, approval, order, license, certificate or permit or
act of or from or declaration or filing with, any governmental authority or any party to any
contract, agreement, instrument, lease or license to which Guarantor is a party or by
which Guarantor is bound, is required for the execution, delivery or compliance with the
terms hereof by Guarantor, except as have been obtained as required prior to the date
hereof;
       (j)     there is no pending, or to the best of its knowledge, threatened, litigation
against Guarantor in any court or before any commission or regulatory body, whether
federal, state or local, which challenges the validity or enforceability of this Guaranty;
       (k)    it is not insolvent within the meaning of applicable state laws and federal
laws relating generally to bankruptcy, insolvency or reorganization or relief of debtors;
and
      (l)    the financial statements of Guarantor, which have been furnished to ALIGN
by Guarantor, are accurate and complete in all material respects.
8.      Limitations of Remedies. Guarantor agrees that so long as ALIGN is owed any
sum under the Pharmacy Services Agreement, Guarantor will not, without the prior written
consent of ALIGN: (i) assert, collect or enforce any liabilities or indebtedness owing by
the Guarantor to Guarantor (collectively, “Indebtedness”); (ii) commence, prosecute or
participate in any administrative, legal or equitable action, or take any other action to
collect, enforce or recover any Indebtedness; and, (iii) commence or join with any creditor
in commencing any bankruptcy, insolvency or similar proceeding with respect to the
Guarantor or take any other action that could cause an Event of Bankruptcy of the
Company.
9.     Governing Law; Jurisdiction. This Agreement shall be governed by and
construed in accordance with the Laws of the State of Oklahoma without giving effect to
any choice or conflict of Law provision or rule (whether of the State of Oklahoma or any
other jurisdiction) that would cause the application of the Laws of any jurisdiction other
than the State of Oklahoma. Each party consents to the jurisdiction and venue of the
United States District Court for the Western District of Oklahoma or the District Court of
the State of Oklahoma located in Oklahoma City, Oklahoma, as applicable, for any Action
arising from or in connection with the interpretation or enforcement of this Agreement.
10.   Modification. This Guaranty may not be amended or modified in any respect
whatsoever except by an instrument in writing signed by Guarantor and ALIGN.
11.    Severability. Wherever possible, each provision hereof shall be interpreted in
such manner as to be effective and valid under applicable law, but if any provision of this
Guaranty or the application thereof to any Person or circumstances shall, to any extent
and for any reason, be held in any proceeding to be invalid, illegal or unenforceable, such
provision, or the application thereof to any Person or circumstance, shall be ineffective to
the extent, but only to the extent, of such invalidity, illegality or unenforceability without
invalidating the remainder of such invalid, illegal or unenforceable provision or any other
provisions hereof or the application of such provision to Persons or circumstances other
than those to which it was held to be invalid, illegal or unenforceable.
12.    Headings. The titles and headings contained in this Guaranty are included for



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convenience only and shall not be considered part of this Guaranty in construing or
interpreting any provision hereof.
13.    Successors and Assigns. This Guaranty shall be binding upon, and inure to the
benefit of, the parties hereto and their respective successors and assigns.
14.     Assignment. No transfer or assignment by Guarantor of any of its rights
hereunder (whether by operation of law or otherwise) shall relieve the Guarantor of any
of its obligations hereunder.
15.     Full Knowledge. Guarantor has full knowledge of the terms of the Pharmacy
Services Agreement and the Company’s obligations thereunder and in connection
therewith. Guarantor fully understands all rights and remedies of ALIGN in the event of
default by the Guarantor with respect to any of those obligations. Guarantor has full
knowledge of the financial condition of the Guarantor and assumes the obligation to keep
itself fully informed as to the Company’s financial condition and its performance of its
obligations under the Pharmacy Services Agreement. ALIGN shall have no obligation to
disclose to Guarantor any information concerning the Company, the Pharmacy Services
Agreement or any other facts material to Guarantor, regardless of whether ALIGN knows
such facts are unknown to Guarantor and would materially increase the risk to Guarantor
beyond that which Guarantor might have intended to assume under this Guaranty. The
nature and effect of this Guaranty, including (without limitation) the effect of each of the
waivers contained herein, have been fully explained to Guarantor by competent legal
counsel of Guarantor’s choosing.

IN WITNESS WHEREOF, the duly authorized officers and representatives of ALIGN and
Guarantor have executed this Guaranty as of the Effective Date.


GUARANTOR                                        AlignRx, LLC
By: _______________________________              By: _____________________________


      Douglas Call
Name: ____________________________               Name: Melanie Maxwell


       Owner/Primary
Title: ______________________________            Title: President


       1/24/2022
Date: _____________________________                    1/24/2022
                                                 Date: ___________________________




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                                     EXHIBIT A

                               Pharmacy Location(s)
Complete the following information or attach a list of Pharmacy Locations including the
information requested below.

       2639877
NCPDP: ________________               1124301981
                                 NPI: _______________________________
                     GRANDVIEW PHARMACY SERVICES LLC
Pharmacy Legal Name: __________________________________________
                          7201 E. 147TH STREET
Pharmacy Mailing Address: ______________________________________
                            GRANDVIEW, MO 64030-
          City, State, ZIP: _______________________________________


                   ALBERS MEDICAL PHARMACY
Pharmacy DBA Name: ___________________________________________
                           7201 E. 147TH STREET
Pharmacy Physical Address: ______________________________________
                            GRANDVIEW, MO 64030-
          City, State, ZIP: _______________________________________


       (816) 318-9999
Phone: _______________________                      (816) 318-9888
                                               Fax: _____________________
       doug@albersrx.com
Email: _________________________________________________________




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